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                          UNITED STATES DISTRICT COURT
                            DISTRICT OF CONNECTICUT

ELLEN DIMURO, MARGARET OHAYON,
DANA STEIN and all others similarly situated,

                                                Civil Action No. 3:12-cv-01789-AVC
                          Plaintiffs,

       v.

THE ESTÉE LAUDER COMPANIES, INC.,
CLINIQUE LABORATORIES, LLC,                                NOTICE OF APPEAL

                          Defendants.




Notice is hereby given that plaintiffs, ELLEN DIMURO, MARGARET OHAYON and DANA
STEIN in the above-named case hereby appeal to the United States Court of Appeal for the
Second Circuit from the Ruling on the Defendants’ Motion to Dismiss (DE # 55), entered in this
action on the 26th day of November, 2013.




                                                   By:     /s/Caroline F. Bartlett
